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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF ARIZONA

               Brian Netzel, et al. v. American Express Company
                      Case No. CV-22-01423-PHX-SMB

                           INDEX OF EXHIBITS

Exhibit                                 Description

  A       Declaration of Brian Netzel

  B       Declaration of Travis Smith

  C       Declaration of Eric Langkamp

  D       Declaration of Nancy Larson

  E       Declaration of Mark Floyd

  F       Declaration of David Pivtorak
